














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1423-09




										

WILLIAM JAMES BRADFORD, Appellant
			

  

v.
					

  										

THE STATE OF TEXAS


  


  

ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTEENTH COURT OF APPEALS

HARRIS COUNTY




Per curiam. KEASLER and HERVEY, JJ., dissent.


ORDER

	The petition for discretionary review violates Rules of Appellate Procedure 9.3 and
68.4(i) because the original petition is not accompanied by 11 copies and does not contain
a copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this order.

En banc

Delivered: February 10, 2010.

Do Not Publish


